
38 N.Y.2d 756 (1975)
Arlene King et al., Appellants,
v.
Power Authority of the State of New York, Respondent.
Court of Appeals of the State of New York.
Argued October 24, 1975.
Decided December 2, 1975.
Robert J. Kafin and Neil E. Needleman for appellants.
John R. Davison, Scott B. Lilly and Peter A. Giuntini for respondent.
Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE concur.
*757MEMORANDUM.
The order appealed from should be affirmed, essentially for the reasons contained in the opinion by Mr. Justice ELLIS J. STALEY, JR., writing for the unanimous Appellate Division, Third Department.
As that opinion indicates, defendants have assured plaintiffs *758 that they will be compensated for the damages caused to their property. Accordingly, we leave for another day the question of whether the Power Authority may be enjoined from making a temporary entry upon land where the damages are more substantial. Nor do we find any need in this case to determine when such an entry is invasive enough to constitute a taking for public use within the meaning of section 6 of article I of the New York State Constitution.
Order affirmed, with costs, in a memorandum.
